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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                DEL RIO DIVISION

THE STATE OF TEXAS,                             §
                                                §
        Plaintiff,                              §
                                                §                          2:23-cv-00055-AM
                                                          CIVIL ACTION NO. _________
v.                                              §
                                                §
U.S. DEPARTMENT OF HOMELAND                     §
SECURITY, et al.,                               §
                                                §
        Defendants.


 SUPPLEMENTAL APPENDIX TO PLAINTIFF’S MOTION FOR PRELIMINARY
        INJUNCTION AND TEMPORARY RESTRAINING ORDER



 S-1     Declaration of Brian Cooney                                      Supp. Appx. 001 -
                                                                          004

S-1.1    Exhibit A - Pictures described in ¶ 11 of Declaration of Brian   Supp. Appx. 005 -
         Cooney                                                           009
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Dated: October 27, 2023.                         Respectfully submitted.

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                                   CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on October 27, 2023, and served on all Defendants via Certified Mail Return
Receipt.

                                            /s/Ryan D. Walters
                                            RYAN D. WALTERS
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                DECLARATION OF BRIAN COONEY


1. My name is Brian Cooney. I am a Staff Sergeant assigned to Task Force

   Eagle under Golf Company and I am an employee of the Texas Military

   Department ("TMD"). In that role, I currently serve as a Team Leader on

   Operation Lone Star ("OLS"), as Sergeant of the Guard.

2. I have served in OLS since July 2023. My job duties include patrolling and

   maintaining my area of operations along the border as part of OLS and

   taking care of soldiers under my command. I currently serve in the vicinity

   of Eagle Pass, Texas.

3. During my service at the Texas-Mexico border I have observed that Eagle

   Pass remains an area where large numbers of migrant border crossings

   regularly occur. During my service, I have observed TMD personnel

   construct, maintain, and repair Texas's concertina wire fence within my area

   of operation in the Eagle Pass area.

4. When TMD soldiers encounter destruction of, damage to, or a breach in the

   concertina wire fence, it is our practice to send a "spot




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   report" to the OLS Battle Desk, which forwards those reports to the TMD

   engineering team.

5. On October 26, 2023, I was on my regular patrol at the international border

   near the river, in close proximity to the Heavenly Farms Pecan Orchard,

   when I spotted a group of several hundred migrants congregating on the

   Mexican side of the Rio Grande. Once this group reached a certain size, it

   began to cross the river.

6. At around 12:30 PM on October 26, 2023, as soon as the first group of

   migrants who had crossed the river set foot on the Texas side, I saw a

   telehandler forklift operated by an agent of U.S. Border Patrol

   ("BP") move in to position to assist the migrants ..

7. The forklift driven by the BP agent inserted pallet forks into the concertina

   wire barrier, lifted the barrier high enough to pull out of the ground the

   fencing stakes that kept the fence in place, and held it suspended in the air

   for approximately 20 minutes. This created a gap in the wire fence large

   enough to allow migrants to cross.

8. BP agents then began to help the migrants enter through the gap in the

   wire fence created by the forklift. I observed 310 migrants cross through the

   gap.




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9. None of the federal personnel at the scene asked for permission from me or,

   to my knowledge, from other OLS personnel to move the concertina wire

   barrier. And as far as I am aware, no such permission was granted by TMD

   to PB.

IO.During this process, I saw PB airboats in the water. The airboats were not

   obstructed by the concertina wire barrier. BP airboats access the river

   from isolated access points along the Rio Grande. I did not witness any of

   the migrants in distress while they were in the river, and none of the

   migrants appeared to need medical attention. Additionally, while I observed

   this episode, no call was made by anyone at the scene for a medical team to

   assist the migrants. Instead, as the migrants who had just crossed the river

   approached the gap in the fence, BP agents began assisting the migrants

   entry through the concertina wire.

11. I witnessed 310 migrants enter through the gap in the fence created by the

   forklift operated by BP agents. This occurred over a twenty-minute

   period. I and other TMD personnel documented this event using cellphone

   cameras. Attached as Exhibit A are true and correct copies of photos that

   were taken at the scene that depict these events.

12.After the last of the migrants passed through the concertina wire that had

   been raised by the telehandler forklift, the BP agent operating it lowered




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      the wire. The stakes that were attached to the wire, and which keep the wire

      in place, were not put back into the ground. As a result, the wire will have

      to be repaired by TMD engineers.

   13.After this incident, I spoke with the operator of the telehandler forklift who

      was dressed in plain clothes. When I inquired about his role on the scene, he

      confirmed that he worked for BP.

   14.As I documented the event, BP officers approached me and claimed I was

      not authorized to take any pictures of them or ask their names.

   15. After this incident, the BP employees positioned the forklift up the

      hill next to the paved road 100-150 yards away from point 2020 ,which

      is along the river. I drafted a spot report to the OLS Battle Desk describing

      what I had witnessed and explaining that it seemed likely that BP might

      use the machinery again to lift the concertina wire fence.

      I hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the foregoing is true and correct to the best of my knowledge and information.

      Signed this 26th day of October 2023.

                                                                    Digitally signed by
                                              COON EV.BRIAN.PA COONEY.BRIAN.PATRICK.12801
                                                               76750
                                              TRICK.1280176750 Date: 2023.10.2622:24:45
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                                              Brian Cooney
                                               Staff Sergeant
                                              Texas Military Department



                                                                       Supp. Appx. 004
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                         Exhibit A




                                                    Supp. Appx. 005
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